Case 2:O4-cr-20512-SHl\/| Document 45 Filed 07/01/05 Page 1 01 2 Page|D 43

lN THE UN|TED STATES D|STRICT COUFiT H.BJ BY._,___ ._.....M

 

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P|aintiii,
vs. cn. No. 04-20512-01-5

MUJAH!D MUHAMMAD,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the July 5, 2005 trial date in order to allow for
disposition of pending motions in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Monday, July 25l 2005l at 9:30 a.m., in Courtroom 1. 11 th Floor of the
Federa| Building, Memphis, TN.

 

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this 20 day fJune, 2005.

 
  

 

J A rEL BREEN "
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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CR-205 12 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

